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8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,     )            CASE NO. 2:06-0390 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )            STIPULATION AND
                                   )            ORDER TO EXCLUDE TIME
14   JIAN HONG LIANG, et.al.       )
                                   )
15                                 )
                    Defendants.    )
16   ______________________________)
17          The parties request that the status conference in this case
18   be continued from August 6, 2010 to October 22, 2010 at 10:00
19   a.m.    They stipulate that the time between August 6, 2010 and
20   October 22, 2010 should be excluded from the calculation of time
21   under the Speedy Trial Act.      The parties stipulate that the ends
22   of justice are served by the Court excluding such time, so that
23   counsel for the defendant may have reasonable time necessary for
24   effective preparation, taking into account the exercise of due
25   diligence.    18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
26   Specifically, all defense counsel have been provided with
27   approximately 1135 pages of discovery, including CD’s, and DVD’S.
28   All counsel need additional time to prepare the matter further,

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1    review the discovery provided and continue their investigation of
2    the matter.
3         Additionally, all parties stipulate that this matter is
4    complex within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii) and
5    Local Code T-2, and because of the nature of the prosecution and
6    the number of defendants, it is unreasonable to expect adequate
7    preparation for pretrial proceedings or trial itself within the
8    time limits established by 18 U.S.C. § 3161.       This matter was
9    previously found complex by the U.S. Magistrate during the
10   initial appearances of each defendant and by this Court by
11   stipulation of the parties during the last status conference on
12   December 11, 2009.
13        The parties stipulate and agree that the interests of
14   justice served by granting this continuance outweigh the best
15   interests of the public and the defendant in a speedy trial. 18
16   U.S.C. § 3161(h)(7)(A).
17                                          Respectfully Submitted,
18                                          BENJAMIN B. WAGNER
                                            United States Attorney
19
     DATE: August 4, 2010             By:    /s/ Heiko P. Coppola
20                                          HEIKO P. COPPOLA
                                            Assistant U.S. Attorney
21

22   DATE: August 4, 2010                    /s/ J. David Nick
                                            J. DAVID NICK
23                                          Attorney for Defendant Jian
                                            Hong Liang
24
                                             /s/ David Fischer
25                                          DAVID FISCHER
                                            Attorney for Defendant En Hao
26                                          Lin
27                                           /s/ Scott Cameron
                                            SCOTT CAMERON
28                                          Attorney for Defendant Rui Liu

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                                            SO ORDERED.
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3    DATE: August 4, 2010                   /s/ Edward J. Garcia
                                            EDWARD J. GARCIA
4                                           Senior U.S. District Judge
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